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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
             Plaintiff,                         )
                                                )
      vs.                                       )      Case No. 4:07CR50 HEA
                                                )
ROBERT CONNER,                                  )
                                                )
             Defendant.                         )

                 MEMORANDUM ORDER AND JUDGMENT

      This matter is before the Court on Count Thirty Seven of the Indictment

against Defendant, which the parties have deferred for the Court’s determination.

The Government now moves for a money judgment in the amount of $1,213,970.58,

which it claims is the amount derived from proceeds obtained by Defendant as a

result of Defendant’s violations. Defendant has not filed any response to the

Government’s request.

      The criminal forfeiture statute, 18 U.S.C. § 982(a)(2)(B), subjects to

forfeiture “any property constituting, or derived from, proceeds the person obtained

directly or indirectly, as the result of” the violations charged in the indictment

herein, i.e., bank fraud and unauthorized use of a credit access device.

      The evidenced presented at Defendant’s trial established that Defendant
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approved 60 fraudulent credit applications for which $25,000 credit lines were

approved. Furthermore, the evidence also established each of these cards had a

balance in excess of $25,000.

      Based on the evidenced adduced at the trial of this matter from November 26,

2007 through November 30, 2007, the Court finds that the Government has proven

by a preponderance of the evidence that it is entitled to a money judgment in the

amount of $1,213,970.58.

      Furthermore, the evidence established, by a preponderance of the evidence,

that the 2006 GMC Yukon XL VIN 1GLFK66U56J102435 was purchased through

proceeds derived as a result of the bank fraud violations charged in the indictment,

and as such, it is subject to criminal forfeiture to the Government.

      Accordingly,


      IT IS HEREBY ORDERED ADJUDGED AND DECREED that

judgment is entered in favor of the government and against Defendant Robert

Conner in the amount of $1,213,970.58.

      IT IS FURTHER ORDERED ADJUDGED AND DECREED that the

2006 GMC Yukon XL VIN 1GLFK66U56J102435 shall be forfeited to the




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government.

     Dated this 30th day of January, 2008.



                                             _______________________________
                                               HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE




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